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 1                                                          Judge John C. Coughenour
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                              UNITED STATES DISTRICT COURT FOR THE
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
 9   UNITED STATES OF AMERICA,                          NO. CR20-00092JCC
10                             Plaintiff,
                                                        GOVERNMENT’S NOTICE OF
11                       v.                             WITHDRAWAL OF COUNSEL
12   ALAN GOMEZ-MARENTES, et al,
13                             Defendants.
14
15          The United States of America, by Tessa M. Gorman, Acting United States
16 Attorney for the Western District of Washington, and Marci L. Ellsworth, Assistant
17 United States Attorney for said District, files this Notice of Withdrawal of Counsel.
18          Assistant United States Attorney Marci L. Ellsworth withdraws as counsel of
19 record in the above-entitled matter. Assistant United States Attorney Amy Jaquette is the
20 assigned prosecutor and counsel of record for the United States Government; future
21 pleadings, court documents and correspondence should continue to be forwarded to her
22 attention.
23          DATED this 2nd day of April, 2021.
24                                                    Respectfully submitted,
25                                                    TESSA M. GORMAN
26                                                    Acting United States Attorney
27                                                    /s/ Marci L. Ellsworth
28                                                    MARCI L. ELLSWORTH
                                                      Assistant United States Attorney


     Notice of Withdrawal/Gomez-Marentes, et al. -1                     UNITED STATES ATTORNEY
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